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                                                                     3:05 pm, Aug 28, 2019

                                                                     U.S. DISTRICT COURT
                                                                  SOUTHERN DISTRICT OF INDIANA
                                                                       Laura A. Briggs, Clerk
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